Case: 1:17-md-02804-DAP Doc #: 2375-12 Filed: 08/14/19 1 of 5. PageID #: 389164




             PSJ3
           Exhibit 678
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       2375-12 Filed: 08/14/19 2Confidentiality
                                          to Further      of 5. PageID #: 389165
                                                                              Review

     1              IN THE UNITED STATES DISTRICT COURT

     2                FOR THE NORTHERN DISTRICT OF OHIO

     3                          EASTERN DIVISION

     4

     5

     6    ******************************

     7    IN RE:

     8    NATIONAL PRESCRIPTION OPIATE         MDL NO. 2804

          LITIGATION

     9

          This document relates to:            Case No. 17-MD-2804

    10

          All cases                            Hon. Dan A. Polster

    11    ******************************

    12                   HIGHLY CONFIDENTIAL - SUBJECT

    13                 TO FURTHER CONFIDENTIALITY REVIEW

    14                    VIDEOTAPED DEPOSITION OF:

    15                            RONALD LINK

    16                            MOTLEY RICE

    17                          55 Cedar Street

    18                    Providence, Rhode Island

    19                 December 11, 2018         9:09 a.m.

    20

    21

    22                         Darlene M. Coppola

    23                    Registered Merit Reporter

    24                   Certified Realtime Reporter

  Golkow Litigation Services                                                 Page 1
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       2375-12 Filed: 08/14/19 3Confidentiality
                                          to Further      of 5. PageID #: 389166
                                                                              Review

     1              Q.    It states, "SOM process will include

     2         store controlled substances, orders placed

     3         with CVS warehouses and outside vendors,

     4         Cardinal and McKesson," correct?

     5              A.    Correct.

     6              Q.    So we know from looking at this,

     7         July 8, 2013, that prospectively at least, the

     8         plan was at that time to include outside

     9         vendors, correct?

    10              A.    Correct.

    11              Q.    And up until that time, outside vendor

    12         purchases by CVS pharmacies were not being

    13         monitored by CVS; is that correct?

    14              A.    Again, I was not -- I'm not aware --

    15         I'm not aware that it wasn't.

    16              Q.    At least according to the document,

    17         that's what it indicates; is that right?

    18              A.    Correct.

    19              Q.    And these are the same stores that

    20         were purchasing narcotics that were for sale

    21         retail to the United States public; is that

    22         correct?

    23              A.    Correct.

    24              Q.    And those included class 3 narcotics;

  Golkow Litigation Services                                               Page 56
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       2375-12 Filed: 08/14/19 4Confidentiality
                                          to Further      of 5. PageID #: 389167
                                                                              Review

     1         is that right?

     2              A.    Correct.

     3              Q.    And those also included class 2

     4         narcotics, correct?

     5              A.    Correct.

     6              Q.    So who, if anybody, was monitoring

     7         those purchases by CVS pharmacies and sales to

     8         the general public, to your knowledge, if

     9         anybody?

    10              A.    I'm not aware of who would be

    11         monitoring that.

    12              Q.    So let's proceed to document 19B.

    13

    14                     (Exhibit No. 19B marked for

    15         identification.)

    16

    17         BY MR. BAKER:

    18              Q.    This is an e-mail dated 8/22/14, from

    19         Pamela Hinkle to a series of people within

    20         CVS.

    21                    Do you see that?

    22              A.    I do.

    23              Q.    All right.    You see there where she

    24         says that -- it says, "So we will be out of

  Golkow Litigation Services                                               Page 57
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       2375-12 Filed: 08/14/19 5Confidentiality
                                          to Further      of 5. PageID #: 389168
                                                                              Review

     1              Q.    And so you really have no idea during

     2         the period of time that you were in charge of

     3         the suspicious order monitoring program and

     4         logistics just the extent to which these

     5         outside vendors were providing narcotics to

     6         CVS pharmacies; is that correct?

     7              A.    That is correct.

     8                            MR. BAKER:    Let me show you

     9         Exhibit 51.

    10

    11                     (Exhibit No. 51 marked for

    12         identification.)

    13

    14         BY MR. BAKER:

    15              Q.    Exhibit 51 is two pages.      The first

    16         page is Bates 30892.      The second page is Bates

    17         30995.

    18                    Do you see that?

    19              A.    I do.

    20              Q.    Okay.   This is a wholesale supply

    21         agreement between CVS and Cardinal -- the

    22         first page, or the first page of a wholesale

    23         supply agreement between CVS and Cardinal

    24         dated January 1, 2004, correct?

  Golkow Litigation Services                                               Page 67
